Case 2:03-cr-20434-SH|\/| Document 96 Filed 06/13/05 Page 1 of 2 Page|D 126

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IN THE UNITED sTATEs DISTRICT COURT F“‘ED ““r "“‘"" D"

FOR TI'IE WESTERN DISTRICT OF TEN'NESSEE

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UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 03~20434-Ma

VS.

M_ARSHALL CHISM,

~_/-_,~_.1\-_.--._¢~__,~_._¢-_/-._,

Defendant.

 

ORDER ON CONTIN'UANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on May 31, 2005. Defense
counsel requested a special setting for a change of plea.

The Court granted the request and set a change of plea hearing
for Thursday, June 23, 2005 at 1:30 p.m. The Court continued the
trial to the rotation docket beginning Tuesday, July 5, 2005 at
9:30 a.m. With a report date on Friday, June 24, 2005 at 2:00 p.m.

The period, from May 31, 2005 through July 15, 2005 is
excludable under 18 U.S.C. § BlGl(h}(B)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

I-r rs so onnERED this "3JL day @f June, 2005.

y//M/t.__

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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Honorable Samuel Mays
US DISTRICT COURT

